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 8
 9                                   UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                        Cr. No. S-10-347
13                      Plaintiff,                 STIPULATION AND ORDER CONTINUING
                                                   STATUS CONFERECE
14          v.
                                                   March 19, 2015 at 9 AM before Judge England
15   IMESH PERERA, et al
16
                        Defendants.
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19          The parties have not yet had sufficient time to evaluate and propose settlement of this

20   case; it is therefore stipulated that the Status Conference of October 2, 2014 be continued to

21   March 19.2015.

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 1   It is also stipulated that time be excluded under the Speedy Trial Act, 18 USC Sec 3161-3174 for
 2   Counsel preparation (Local Code T4) and that this need outweighs the rights of the Defendants
 3   and the Public in a speedy trial. The parties respectfully request the Court so order.
 4   Dated October 1, 2014
 5     /s/ JILL THOMAS                                                  /s/ J TONEY
 6     Jill Thomas                                                       J. Toney
 7   Assistant U.S. Attorney                                      Attorney for Imesh Perera
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10          IT IS SO ORDERED.
11   Dated: March 19, 2015
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